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 EXHIBIT 13
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                                     master     anil/signup-checkbox-requirement




           2          app/controllers/business_portal/user_sessions_controller.rb


...   @@ -1,6 +1,6 @@

 1         module BusinessPortal                         1        module BusinessPortal
 2             class UserSessionsController <            2         class UserSessionsController <
      Spree::UserSessionsController                           Spree::UserSessionsController
 3    -          skip_before_action :load_order,         3    +      skip_before_action :load_order
      :show_new_login?
 4               skip_after_action                       4            skip_after_action
      :set_current_order, only: :create                       :set_current_order, only: :create
 5                                                       5
 6               layout 'partners_signin'                6            layout 'partners_signin'



      12            app/controllers/spree/user_sessions_controller.rb


 16              skip_before_action                      16           skip_before_action
       :check_age_verification                                :check_age_verification
 17                                                      17
 18              before_action                           18           before_action
              Case 3:20-cv-02345-WHO Document 236-2 Filed 03/31/21 Page 3 of 8
       :redirect_hide_commerce, only: :new                   :redirect_hide_commerce, only: :new
 19    -       before_action :hide_footer,             19    +       before_action :hide_footer,
       :load_order, :set_use_mini_header,                    :load_order, :set_use_mini_header,
       :set_page_title, :show_new_login?                     :set_page_title
 20                                                    20
 21            # This is included in                   21            # This is included in
       ControllerHelpers::Order.      We just want           ControllerHelpers::Order.      We just want
       to call                                               to call
 22            # it after someone has                  22            # it after someone has
       successfully logged in.                               successfully logged in.
106            end                                     106           end
107                                                    107
108            def set_page_title                      108           def set_page_title
109    -         @page_title = if show_new_login?      109   +         @page_title =
                                                             t('sign_in_page.sign_in_title')
110    -
       t('sign_in_page.my_account_title')
111    -                       else
112    -
       t('sign_in_page.sign_in_title')
113    -                       end
114    -       end
115    -
116    -       def show_new_login?
117    -         @show_new_login ||=
       feature_flags.show_new_login?
118            end                                     110           end
119                                                    111
120            def translation_scope                   112           def translation_scope



      20          app/javascript/packs/accept_tos.js


...   @@ -1,10 +1,26 @@

 1         const signupButtons =                        1        const signupButtons =
      document.getElementsByClassName('tos-                  document.getElementsByClassName('tos-
      required');                                            required');
 2         const agreeTosCheckbox =                     2        const agreeTosCheckbox =
      document.getElementById('accepted-tos');               document.getElementById('accepted-tos');
                                                        3    + const signupForm =
                                                             document.getElementById('new_spree_user_
                                                             create');
                                                        4    + const agreeTosWarning =
                                                             document.getElementById('accepted-tos-
                                                             warning');
 3                                                      5
              Case 3:20-cv-02345-WHO Document 236-2 Filed 03/31/21 Page 4 of 8
 4       for (let i = 0; i <                    6        for (let i = 0; i <
     signupButtons.length; i++) {                   signupButtons.length; i++) {
 5           const signupButton =               7            const signupButton =
     signupButtons[i];                              signupButtons[i];
 6   -       signupButton.disabled = true;
 7           agreeTosCheckbox.onchange =        8            agreeTosCheckbox.onchange =
     function() {                                   function() {
 8   -            signupButton.disabled =       9   +             if (this.checked) {
     !this.checked;
                                               10   +
                                                    signupButton.classList.remove('disabled'
                                                    );
                                               11   +
                                                    agreeTosWarning.classList.add('hide');
                                               12   +             } else {
                                               13   +
                                                    signupButton.classList.add('disabled');
                                               14   +
                                                    agreeTosWarning.classList.remove('hide')
                                                    ;
                                               15   +             }
 9           };                                16            };
10       }                                     17        }
                                               18   +
                                               19   + signupForm.onsubmit = function(e) {
                                               20   +        if (!agreeTosCheckbox.checked) {
                                               21   +             e && e.preventDefault();
                                               22   +
                                                    agreeTosWarning.classList.remove('hide')
                                                    ;
                                               23   +             return false;
                                               24   +        }
                                               25   +
                                                    agreeTosWarning.classList.add('hide');
             Case 3:20-cv-02345-WHO Document 236-2 Filed 03/31/21 Page 5 of 8
                                                    26    + };



     6         app/javascript/styles/core/_buttons.scss


19           text-decoration: none;                 19               text-decoration: none;
20       }                                          20           }
21                                                  21
22   -   &:disabled {                               22    +   &:disabled,
                                                    23    +   &.disabled {
23           background: if($disabled-              24               background: if($disabled-
     background-color, $disabled-background-              background-color, $disabled-background-
     color, lighten($gradient-start, 20%));               color, lighten($gradient-start, 20%));
24           box-shadow: 0 1px 0 0                  25               box-shadow: 0 1px 0 0
     lighten($gradient-start, 1%);                        lighten($gradient-start, 1%);
25           color: if($disabled-color,             26               color: if($disabled-color,
     $disabled-color, $color);                            $disabled-color, $color);
                                                    27    +   }
                                                    28    +
                                                    29    +   &:disabled {
26           cursor: not-allowed !important;        30               cursor: not-allowed !important;
27       }                                          31        }
28                                                  32



     4         app/views/pages/wholesale.html.erb


48             <input type=hidden id="status"       48                 <input type=hidden id="status"
     name="status" value="Open" type=hidden/>             name="status" value="Open" type=hidden/>
49             <input type=hidden                   49                 <input type=hidden
     id="recordType" name="recordType"                    id="recordType" name="recordType"
     value="01239000000N1wY" type=hidden/>                value="01239000000N1wY" type=hidden/>
50             <input type=hidden                   50                 <input type=hidden
     id="00N39000003V5FT"                                 id="00N39000003V5FT"
     name="00N39000003V5FT" value="1" /><br/>             name="00N39000003V5FT" value="1" /><br/>
51   -            <%= render partial:               51    +            <%= render partial:
     'spree/shared/accept_tos' if                         'spree/shared/accept_tos' %>
     feature_flags.intl_requires_tos_checkbox
     ?(current_store) %>
52   -         <input type="submit"                 52    +            <input type="submit"
     name="submit" class="Button--primary                 name="submit" class="Button--primary
     button_sumbit_wholesale tos-required">               button_sumbit_wholesale disabled tos-
                                                          required">
53             </form>                              53                </form>
54           </div>                                 54               </div>
55       </div>                                     55        </div>
              Case 3:20-cv-02345-WHO Document 236-2 Filed 03/31/21 Page 6 of 8

      15           app/views/spree/shared/_accept_tos.html.erb


...   @@ -1,16 +1,13 @@
 1    - <% requires_checkbox =
      feature_flags.intl_requires_tos_checkbox
      ?(current_store) %>
 2    -
 3         <label for="accepted-tos" class="text-     1         <label for="accepted-tos" class="text-
      -small signin__legal-text">                          -small signin__legal-text">
 4    -     <% if requires_checkbox %>                2    +     <input type="checkbox" id="accepted-
                                                           tos"/>
 5    -        <input type="checkbox"
      id="accepted-tos"/>
 6    -     <% end %>
 7          <%=                                       3          <%=
      juul_t('page.shared.login.by_registering             juul_t('page.shared.login.by_registering
      _with',                                              _with',
 8                       url:                         4                      url:
      contentful_safe_render(content.tld_setti             contentful_safe_render(content.tld_setti
      ngs, 'tos_url'), #We leave this to                   ngs, 'tos_url'), #We leave this to
      support old translaions until they're                support old translaions until they're
      updated.                                             updated.
 9                       tos_url:                     5                      tos_url:
      contentful_safe_render(content.tld_setti             contentful_safe_render(content.tld_setti
      ngs, 'tos_url'),                                     ngs, 'tos_url'),
10                       privacy_url:                 6                      privacy_url:
      contentful_safe_render(content.tld_setti             contentful_safe_render(content.tld_setti
      ngs, 'privacy_url')) %>                              ngs, 'privacy_url')) %>
11         </label>                                   7         </label>
12    - <% if requires_checkbox %>                    8    + <div id="accepted-tos-warning"
                                                           class="invalid-feedback hide">
13    -      <% content_for :javascript do %>         9    +     <%=
                                                           juul_t('page.shared.login.accepted_tos_w
                                                           arning') %>
14    -        <%= javascript_pack_tag               10    + </div>
      'accept_tos' %>
15    -      <% end %>                               11    + <% content_for :javascript do %>
                                                     12    +      <%= javascript_pack_tag 'accept_tos'
                                                           %>
16         <% end %>                                 13         <% end %>



      6           app/views/spree/shared/_login.html.erb


 2           <%= stylesheet_pack_tag 'checkout'       2           <%= stylesheet_pack_tag 'checkout'
      %>                                                   %>
             Case 3:20-cv-02345-WHO Document 236-2 Filed 03/31/21 Page 7 of 8
 3        <% end %>                                 3        <% end %>
 4                                                  4
 5   - <% if @show_new_login %>                     5   + <%= render partial:
                                                        'spree/shared/login_form' %>
 6   -      <%= render partial:
     'spree/shared/new_login_form' %>
 7   - <% else %>
 8   -      <%= render partial:
     'spree/shared/old_login_form' %>
 9   - <% end %>
10                                                  6
11        <% content_for :javascript do %>          7        <% content_for :javascript do %>
12          <%= javascript_pack_tag 'checkout'      8          <%= javascript_pack_tag 'checkout'
     %>                                                 %>



     0          ...ews/spree/shared/_old_login_form.html.erb →

app/views/spree/shared/_login_form.html.erb




     41          app/views/spree/shared/_new_login_form.html.erb




     7          app/views/spree/shared/_user_form.html.erb


23              <div class="red text--small"><%=   23              <div class="red text--small"><%=
     flash.now[:registration_error] %></div>            flash.now[:registration_error] %></div>
24            <% end %>                            24            <% end %>
25            <div data-                           25            <div data-
     hook="signup_below_password_fields">               hook="signup_below_password_fields">
     </div>                                             </div>
26   -        <%= render partial:                  26   +        <%= render partial:
     'spree/shared/accept_tos' if                       'spree/shared/accept_tos' %>
     feature_flags.intl_requires_tos_checkbox
     ?(current_store) %>
27   -        <p><%= f.submit Spree.t(:sign_up),   27   +        <p><%= f.submit Spree.t(:sign_up),
     id: 'signup__input', class: 'Button--              id: 'signup__input', class: 'Button--
              Case 3:20-cv-02345-WHO Document 236-2 Filed 03/31/21 Page 8 of 8
       primary signin__input is-block tos-                 primary signin__input is-block tos-
       required', tabindex: 6 %></p>                       required disabled', tabindex: 6 %></p>
28           </div>                                 28          </div>
29     -     <%= render partial:
       'spree/shared/accept_tos' unless
       feature_flags.intl_requires_tos_checkbox
       ?(current_store) %>
30         <% end %>                                29       <% end %>
31     -
32     -



       1         config/locales/en.yml


1371                   warranty: Warranty           1371                 warranty: Warranty
1372               login:                           1372             login:
1373                   by_registering_with: By      1373                 by_registering_with: By
           registering with JUUL Labs, Inc., you            registering with JUUL Labs, Inc., you
           agree to our <a href=%{tos_url}>Terms            agree to our <a href=%{tos_url}>Terms
           and Conditions</a> and <a href=%                 and Conditions</a> and <a href=%
           {privacy_url}>Privacy Policy</a>.                {privacy_url}>Privacy Policy</a>.
                                                    1374    +            accepted_tos_warning: Please
                                                            accept the terms to continue.
1374                   log_in: 'Log In:'            1375                 log_in: 'Log In:'
1375                   new_to_juul: 'New to JUUL?   1376                 new_to_juul: 'New to JUUL?
           Sign Up:'                                        Sign Up:'
1376               nav:                             1377             nav:
